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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CONSUMER FINANCIAL PROTECTION
   BUREAU,

        Plaintiff,

   v.                                                No. 4:21-CV-1251-P

   FIRSTCASH, INC., ET AL.,

        Defendants.
                                   ORDER
      Before the Court is the parties’ agreed motion to stay the proceedings
   pending the resolution of further appellate activity in Community
   Financial Services Association of America, Ltd. v. CFPB, No. 21-50286,
   2022 WL 11054082 (5th Cir. Oct. 19, 2022). ECF No. 66. Having
   considered the motion and Community Financial Services Association of
   America, Ltd., the Court finds that the motion to stay should be
   GRANTED. The Court therefore ORDERS that this case is STAYED
   pending the resolution of appellate activity in Community Financial
   Services Association of America, Ltd. The parties must notify the Court
   of the case’s resolution within ten days of the end of appellate activity.

     The Court directs the Clerk of Court to ADMINISTRATIVELY
   CLOSE this case until the Court orders it to be reopened.

        SO ORDERED on this 4th day of November 2022.
